                 Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 1 of 24


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June 28, 2024

By Electronic Mail

The Honorable Gerald J. Pappert
11614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re:       United States of America v. AmerisourceBergen Corp. et al. (No. 22-cv-5209-GJP)

Dear Judge Pappert:

We represent the Defendants in the above-captioned matter. Defendants write to request the Court’s
assistance with a discovery dispute. Pursuant to Your Honor’s Policies & Procedures, Defendants
contacted Chambers to request a conference and were directed to submit a letter. Defendants understand
the Government will submit a responsive letter no later than July 12. Thereafter, Defendants are available
to appear for a discovery conference or alternatively to file a motion to compel.

I.        Overview of the Dispute
This dispute concerns the Government’s refusal to produce responsive documents in the possession of the
DEA. The parties held several meet-and-confer conferences and exchanged multiple letters over a period
of five months in an effort to resolve this dispute. Defendants summarized the relevant discovery requests
in a January 11, 2024 letter. (Ex. A.) The topics of these requests include: DEA’s interpretation and
understanding of the Suspicious Order Monitoring and Reporting obligations; DEA’s knowledge of
Defendants’ Suspicious Order Monitoring systems; DEA’s receipt, handling, investigation, and use of
Suspicious Order Reports; and Investigations of DEA by other government bodies. See Ex. A at 2-5.

The Government agreed only to produce different and narrower categories of the requested documents, it
summarized as (1) “Internal DEA communications relating to external communications;” (2) “Internal
DEA communications concerning Defendants and the facts in this case;” and, tentatively and subject to
further discussion, (3) “Internal DEA communications by DEA personnel who advised Defendants
regarding the meaning of the suspicious order reporting laws.” Each category, as created and defined by
the Government, is subject to further clarification and caveats, as set forth in the Government’s May 17,
2024 letter. (Ex. B at 1-3.) The Government otherwise has objected to production of DEA documents on
the grounds that it believes such documents are irrelevant and “largely” privileged. See Ex. B at 1.

Defendants do not agree to the Government’s limits to discovery on these critical and highly-relevant
documents. As set forth below, the Government’s proposal is based on its own subjective view of
relevance and unsubstantiated, categorical privilege assertions. The Government’s proposed limitations

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          HOUSTON  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  ORANGE COUNTY  PARIS  PHILADELPHIA  PITTSBURGH
       PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 2 of 24


The Honorable Gerald J. Pappert
Page 2


certainly would result in documents key to the defense being improperly withheld and is a black box that
provides no meaningful mechanism for Defendants or the Court to understand what documents are being
withheld—let alone challenge those decisions. And the proposal does not comport with the Federal Rules’
requirement that discovery be proportional to the needs of the case—most notably here, the Government’s
demand for billions of dollars in civil penalties. Defendants accordingly seek the Court’s assistance to
resolve this issue.

II.    Overview of Defendants’ Position
       A.      Internal DEA Documents Are Highly Relevant
Internal DEA documents are highly relevant to the Government’s claims and Defendants’ defenses and
affirmative defenses. Indeed, the Court already has recognized the potential relevance of this discovery
during the most recent status conference. See Jan. 22, 2024 Transcript at 21:3-28:2 Yet, the Government
is refusing to produce internal communications between DEA personnel relating to the suspicious order
monitoring and reporting obligations, including but not limited to what constitutes a “suspicious order,”
what it means to “dispel the suspicion,” whether and how the regulatory obligations apply to “orders of
interest,” DEA’s interpretation and application (or lack thereof) of the Masters decision, and DEA’s efforts
to clarify the suspicious order regulations that have been ongoing for almost a decade but are still not
enacted. These are documents that go to the heart of the case, but the Government’s position is that this
discovery is not relevant to the proper interpretation of the suspicious order reporting requirement or
whether Defendants acted reasonably in not reporting any particular orders.

Defendants submit that magistrate and district court opinions in United States v. American Electric Power
Service Corp. (“AEP”) are analogous and relevant to the dispute here. See No. C2-99-1182, 2001 U.S.
Dist. LEXIS 18723 (S.D. Ohio June 19, 2001) (Mag. J.), recon. denied by 2001 U.S. Dist. LEXIS 18722
(S.D. Ohio Aug. 13, 2001). AEP concerned the defendants’ compliance with a Clean Air Act permitting
requirement that turned on the distinction between “major modifications” and “routine maintenance.”
2001 U.S. Dist. LEXIS 18723 at *4-5. The magistrate concluded that discovery of internal EPA
documents on the permitting requirement was appropriate, relying on Sixth Circuit precedent for the
proposition that “contemporaneous expressions of opinion by low-ranking officials [are considered]
highly relevant and material evidence of the general understanding of ambiguous regulatory provisions.”
Id. at *15-20 (citing Ohio Dep’t of Human Servs. v. U.S. Dep’t of Health & Human Servs., 862 F.2d 1228,
1235 (6th Cir. 1988)). The district court agreed. 2001 U.S. Dist. LEXIS 18722, at *7-10.

Several factors supported this discovery in AEP. First, even though the regulation used “common sense”
language (like “routine”), the court recognized that the regulation could still be ambiguous. 2001 U.S.
Dist. LEXIS 18723, at *18; 2001 U.S. Dist. LEXIS 18722, at *7-8. And, even if unambiguous, the
regulation would need to be interpreted “contextually.” 2001 U.S. Dist. LEXIS 18722, at *8. The court
further noted that it appeared the regulation “was worded broadly precisely in order to cover the myriad
of situations . . . and that the drafters intended the application to be made either on a case-by-case or
industry-segment-by-industry-segment basis.” Id. at *9. Second, there was “a substantial disagreement
in [the] case as to the consistency of the EPA’s interpretation over time.” Id. at *10. Third, there had
been a lack of specific guidance to the defendants on the proper application of the regulation. 2001 U.S.
Dist. LEXIS 18723, at *18. And fourth, both the magistrate and district court took into consideration the
early stages of the litigation, deciding it would be premature to preclude such discovery so early in the
case. Id.; 2001 U.S. Dist. LEXIS 18722, at *8.
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 3 of 24


The Honorable Gerald J. Pappert
Page 3


AEP is directly on point. Here, while the definition of “suspicious order” may use “common” language
(such as “unusual size”), it also requires a contextual interpretation. Indeed, DEA itself has emphasized
that the “determination of whether an order is suspicious depends not only on the ordering patterns of the
particular customer, but also on the patterns of the registrant’s customer base and the patterns throughout
the relevant segment of the regulated industry.”1 Moreover, as in AEP, there is a “substantial disagreement
in this case as to the consistency of the [DEA’s] interpretation over time.” And this Court already has
observed that DEA-related discovery could be relevant to Defendants’ “state of mind or their culpability”
and asked how the Court could “draw that line, at this stage” to exclude such issues from the case at the
start of discovery. See Jan. 22, 2024 Transcript at 26:5-17.

Importantly, this discovery also is relevant to many other issues and defenses, including: the nature and
inconsistency of DEA’s guidance over the years; DEA’s awareness of Defendants’ and other registrants’
programs; and conflicts between the Government’s litigation posture and prior DEA positions. This is
not a fishing expedition. Defendants know relevant and responsive documents exist because DEA
previously produced a limited number of such documents as a non-party in the federal opioid MDL. DEA-
produced documents, and other documents that summarize interactions with DEA, demonstrate that:

        (1) DEA was aware of, allowed, and even endorsed the ambiguity and lack of guidance
        surrounding the suspicious order reporting requirement;
        (2) DEA knew and accepted that distributors used suspicious order monitoring programs that
        differentiated between “orders of interest” and “suspicious orders” and did not automatically report
        all orders of interest; and
        (3) DEA has taken positions in the past that directly conflict with the positions the Government is
        taking here, including whether distributors should limit their reporting to “truly suspicious” orders.
Defendants are entitled to explore DEA-related issues in detail, with the benefit of full party discovery.
The Government must search for and produce documents responsive to Defendants’ discovery requests.

        B.      The Government Cannot Refuse to Produce Documents Based on Its Unilateral,
                Subjective Assessment of Relevance
The Government may not refuse to respond to discovery requests based on its own assessment of
relevance. “It is not for a party to determine, by a unilateral review of documentation, whether information
is relevant to the case.” Sanchez v. U.S. Airways, Inc., 202 F.R.D. 131, 135 (E.D. Pa. 2001). Instead, “[a]t
the discovery stage of the litigation, the evidence sought need only be relevant, and ‘need not be admissible
at the trial if the information sought appears reasonably calculated to lead to the discovery of admissible
evidence.’” Id. (quoting Fed. R. Civ. P. 26(b)(1)).

Importantly, this basic tenet applies equally to the Government as the plaintiff. “When the United States
is a party to litigation, it is ‘subject to the rules of discovery’ as is any other litigant.” Herrmann v. United
States, 127 Fed. Cl. 22, 34 (2016); see also United States v. Procter & Gamble Co., 356 U.S. 677, 681

1
  While this Court previously rejected Defendants’ argument at the motion to dismiss stage that the statute is
unconstitutionally vague, that does not mean that the statute necessarily is unambiguous. A statute or regulation
can be ambiguous, such that a court could benefit from additional context in interpreting the relevant language,
without reaching the level of unconstitutional vagueness.
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 4 of 24


The Honorable Gerald J. Pappert
Page 4


(1958) (“The Government as a litigant is, of course, subject to the rules of discovery.”). “This means that
the government, as a litigant, cannot use its executive power to ‘dictate what evidence is admissible in a
court of law, or whose testimony the court may hear.’” Herrmann, 127 Fed. Cl. at 34; see also Gulf Grp.
Gen. Enters. Co. v. United States, 98 Fed. Cl. 639, 646 (2011) (“When the United States is a party to
litigation, ‘judicial control over the evidence in a case cannot be abdicated to the caprice of executive
officers.’” (quoting United States v. Reynolds, 345 U.S. 1, 9-10 (1953))).

This tenet is especially true in light of the importance of the issues at stake and the billions of dollars in
civil penalties the Government seeks. See Fed. R. Civ. P. 26(b)(1) (providing for discovery that is
“proportional to the needs of the case,” including consideration of “the importance of the issues at stake
in the action [and] the amount in controversy”); see also, e.g., P.H. Glatfelter Co. v. Babcock & Wilcox
Power Generation Grp., Inc., No. 19-CV-2215, 2021 U.S. Dist. LEXIS 145549, *11 (M.D. Pa. Aug. 4,
2021) (allowing discovery in light of the “enormous amount in controversy” of nearly $60 million); No.
18-cv-11273, Occidental Chem. Corp. v. 21st Century Fox Am., Inc., 2022 U.S. Dist. LEXIS 246234,
*155 (D.N.J. Jan. 11, 2022) (allowing broad discovery based in part on the damages demand of hundreds
of millions of dollars).

        C.      The Government Cannot Make Categorical Privilege Assertions
Defendants also object to the Government’s categorical assertion of the attorney-client and deliberative
process privilege. Despite acknowledging in its May 17 letter that “privilege assertions cannot be made on
a categorical basis,” the Government nevertheless insists that it will not produce categories of documents
that it “believe[s]” are “largely” privileged. Ex. B at 5. The Government is correct that its categorical
privilege assertion is improper and not permitted. See, e.g., United States v. Rockwell Int’l, 897 F.2d 1255,
1265 (3d Cir. 1990) (“[C]laims of attorney-client privilege must be asserted document by document, rather
than as a single, blanket assertion.”); Doe v. Schuylkill Cnty. Courthouse, 343 F.R.D. 289, 295 (M.D. Pa.
2023) (“[W]hen addressing legal questions regarding whether the attorney client privilege applies to
particular documents, we are cautioned to eschew any categorical approach which cloaks or rejects the
privilege in a wholesale fashion without regard to the specific content of particular documents.”).2

The Government’s assertion of deliberative process privilege fares even worse, as the Government has
taken none of the steps the law requires to assert such a privilege. The initial burden of establishing
whether the deliberative process privilege applies is on the government. Redland Soccer Club v. Dep’t of
the Army, 55 F.3d 827, 854 (3d Cir. 1995); Del. Riverkeeper Network v. Del. River Basin Comm’n, 300
F.R.D. 207, 211 (D.N.J. 2014). Courts impose three procedural requirements on the assertion:

        (1) the head of the department which has control over the matter must make a formal claim
        of privilege after actually considering the matter;
        (2) the responsible agency official must provide precise and certain reasons for asserting
        the privilege over the government information or documents at issue; and
        (3) the government information or documents sought to be shielded from disclosure must
        be identified and described.
2
  The only case the Government cited in support of its position in its May 17 letter involved a discovery request
seeking “all communications” between a party and its outside law firm. See City of Chicago v. DoorDash, Inc.,
2023 U.S. Dist. LEXIS 91698, *7-8 (N.D. Ill. May 25, 2023). This case is distinguishable on its face.
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 5 of 24


The Honorable Gerald J. Pappert
Page 5


Del. Riverkeeper, 300 F.R.D. at 211; see also, e.g., Three Bros. Supermarket, Inc. v. United States, 2020
U.S. Dist. LEXIS 159660, *4-5 (E.D. Pa. Sept. 1, 2020). “This process ensures that a claim of privilege
is not casually invoked.” Three Bros., 2020 U.S. Dist. LEXIS 159660, at *5 (citing United States v.
O’Neil, 619 F.2d 222, 225 (3d Cir. 1980)). Moreover, “[t]he privilege, once determined to be applicable,
is not absolute.” Redland Soccer Club, 55 F.3d at 854. “[T[he district court should balance the competing
interests of the parties” and, if the party seeking discovery can show that “its need for the documents
outweighs the government’s interest,” then the privilege must yield. Id. (citations omitted).

Here, the Government has not complied with any of these requirements. Requiring the Government to
comply with these basic and well-established rules is not burdensome, unfair, or unusual. The
Government may assert either privilege subject to that privilege’s requirements, described with the
requisite detail on a document-by-document privilege log. Such assertions can then be challenged if
appropriate, with in camera review if necessary, as is common in civil litigation.

III.   Defendants’ Requested Relief
The Government’s agreement to produce only certain self-determined subsets of internal DEA documents
is not sufficient. First, it is inconsistent with the rules of discovery to the extent it gives the Government
the power to decide what is relevant. Second, it is vague and subjective. Third, it would allow for
production of only certain documents on particular topics, which easily could paint an incomplete and
misleading picture for the parties, the Court, and the jury on important issues. Fourth, it is a black box.
It provides no clarity to Defendants or the Court as to what is not being reviewed or produced and would
provide Defendants with no meaningful ability to challenge any of the Government’s decisions.

Accordingly, Defendants respectfully request that the Court compel the Government to comply with its
discovery obligations and produce internal DEA documents responsive to Defendants’ requests, subject
only to any proper assertion of the attorney-client or deliberative process privilege, consistent with the
requirements under the law for those privileges, including production of a privilege log.

Respectfully submitted,
/s/ Robert A. Nicholas

cc:    All counsel of record (via email)
Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 6 of 24




              EXHIBIT A
                 Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 7 of 24


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January 11, 2024

By Electronic Mail

Jordann Conaboy, Esq.
United States Attorney’s Office
District of New Jersey
970 Broad Street, 7th Floor
Newark, NJ 07102

Re:       United States of America v. AmerisourceBergen Corporation et al.
          (E.D. Pa. Civ. A. No. 22-5209-GJP)

Dear Jordann:

I write regarding the United States’ Objections and Responses to Defendant AmerisourceBergen
Corporation’s First Set of Interrogatories and Defendants’ First Set of Requests for Production of
Documents. As summarized below, the Government’s responses contain significant and pervasive
deficiencies. Among other things, the Government: (i) fails to identify and provide the factual basis for
each claimed violation despite quantifying the number of alleged violations in the Complaint and its
discovery responses; (ii) refuses to produce internal DEA documents bearing on key issues, including the
meaning and application of the suspicious order reporting obligations, the DEA’s knowledge of
Defendants’ suspicious order monitoring systems, and the DEA’s practices with respect to the receipt,
investigation, and use of suspicious order reports; (iii) relies upon improper blanket privilege assertions;
(iv) cherry-picks just twenty customer files for production, while withholding tens of thousands of
additional, relevant customer files; (v) imposes an arbitrary date cut-off for responsive documents; and
(vi) restricts its responses to limited categories of DEA employees and refuses to search for responsive
documents in the hands of other relevant governmental entities.
We summarize below the major categories of deficiencies in the Government’s responses and request that
the Government promptly remedy them. We are available to meet and confer on January 17th to discuss
these issues and hope to avoid the need to raise them with the Court.
A.        Ongoing Failure To Disclose the Alleged Violations

Interrogatory No. 1: This interrogatory asks the Government to identify all Alleged Violations,1 describe
the factual basis for each Alleged Violation, and identify individuals (other than Defendants’
representatives) with knowledge of each Alleged Violation. The Government objects that “this

1
 Capitalized terms not otherwise defined in this letter have the meanings ascribed to them in the Interrogatories
and RFPs.

     ABU DHABI  ASTANA  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
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       PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 8 of 24


Jordann Conaboy, Esq.
Page 2


Interrogatory should be deferred to a later time,” and responds that it will produce preliminary lists for
limited categories of Alleged Violations “in the ordinary course of discovery, once a protective order is
entered.” This interrogatory goes to the heart of the case and the Government cannot withhold this critical
information any longer.
Importantly, the Government filed this action with the benefit of a massive investigative record. The
Complaint alleges that Defendants committed “at least hundreds of thousands” of Alleged Violations,
Compl. ¶¶ 443, 446, but, other than a few examples, fails to identify them. The Government’s discovery
responses have now increased the number of Alleged Violations to “more than a million.” See Interrog.
R&O, Gen. Stmt. ¶ 10. The information requested is vital, and Defendants need to know which specific
orders are in play and why the Government believes a violation occurred so they can gather the relevant
facts and prepare their defenses. Even if the Government cannot identify every Alleged Violation at this
time, it must answer based on its current knowledge, and then supplement its response if it later identifies
additional Alleged Violations. See, e.g., United States ex rel. Dougherty v. Guild Mortg. Co., 2020 WL
3542391, *3-*5 (S.D. Cal. Jun. 30, 2020) (ordering government to identify alleged false claims, and noting
that its “two-year statutory investigation should have enabled it to identify the specific allegations of
wrongdoing as soon as discovery commenced”); Oklahoma ex rel. Edmondson v. Tyson Foods, Inc., 2007
WL 649332, at *5 (N.D. Okla. Feb. 26, 2007) (ordering plaintiff to identify claimed environmental
violations based on available information).
B.     Refusal To Produce Internal Documents Reflecting the DEA’s Interpretation and
       Understanding of the Suspicious Order Monitoring and Reporting Obligations

RFP Nos. 1-14, 48, 67: These requests seek documents regarding the meaning and application of the
Suspicious Order Monitoring and Reporting Obligations at the heart of the lawsuit. The Government has
objected to producing responsive internal DEA documents and communications on the basis that “non-
public or informal understandings of agency officials . . . concerning the meaning of a regulation are not
relevant.” See RFP R&O, Comm. Obj. ¶ 7. Instead, the Government has agreed to produce only external
communications (RFP Nos. 1(b), 1(c), 3, 4, 5, 7, 8, 9, 67) or documents previously produced by the DEA
in the Opioid MDL (RFP Nos. 6, 9). And for the remaining requests, the Government has refused to
produce anything (RFP Nos. 1(a), 1(d), 1(e), 2, 10, 11, 12, 13, 14, 48).
The Government’s relevance objection is baseless. The DEA’s internal interpretation and understanding
of the reporting framework is relevant to numerous issues in the case, including (i) the reasonableness of
Defendants’ conduct, (ii) any potential penalty assessments, and (iii) impeachment evidence to challenge
testimony by governmental witnesses. For example, Defendants are entitled to defend against the
Government’s negligence allegations by showing that their conduct was consistent with the actions,
understanding, and guidance of DEA officials overseeing the reporting obligations. They are also entitled
to show that there was confusion within the DEA regarding the meaning and application of the reporting
requirement, and that the DEA knew of but ignored and perpetuated confusion within the industry.
The prejudice created by the Government’s blanket objection is compounded because the objection
sweeps in broad swaths of documents that do not even fit within the purported rationale. For example,
the Government has agreed to produce external communications between the DEA and Defendants, other
Registrants, or industry groups regarding the Suspicious Order Monitoring and Reporting Obligations,
what constitutes a Suspicious Order, and/or how to operate a suspicious order monitoring system,
including requests for clarification or guidance and any DEA responses. Yet, it arbitrarily and improperly
objects to producing internal documents reflecting the very same communications. If a DEA official took
             Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 9 of 24


Jordann Conaboy, Esq.
Page 3


notes during a call with Defendants or wrote an internal memo or email about a responsive
communication, for example, those documents are no less relevant and must be produced. Internal
documents discussing communications with Defendants or industry groups, including whether or how to
respond, are discoverable because they may show, for instance, that DEA officials agreed with
Defendants’ actions and/or interpretations, intentionally withheld guidance, or were unsure themselves
how to apply the standards.
The Government further objects to producing internal documents on executive privilege grounds.
However, the law is clear that the Government cannot assert boilerplate privilege objections to withhold
documents on a blanket basis. The Third Circuit has instructed that “the deliberative process privilege,
like other executive privileges, should be narrowly construed.” Redland Soccer Club, Inc. v. Dep’t of
Army of U.S., 55 F.3d 827, 856 (3d Cir. 1995). To invoke the privilege, the Government must identify
and describe the specific documents being withheld and provide “precise and certain reasons for
preserving the confidentiality of the governmental communications.” Three Bros. Supermarket Inc. v.
United States, 2020 WL 5231575, at *2 (E.D. Pa. Sept. 1, 2020). Likewise, the law enforcement privilege
must be raised on a targeted basis in accordance with strict procedures. See United States v. Wey, 252 F.
Supp. 3d 237, 250 (S.D.N.Y. 2017). Based on our prior experience in the Opioid MDL, we have
significant concerns about the DEA’s overreliance and unsupported use of executive privilege. Even if
the Government could assert a viable claim of privilege over any particular document (something it has
not attempted to do), executive privileges are not absolute. Here, particularly given that the Government
is accusing Defendants of pervasive violations of a vague and subjective reporting obligation and seeking
to penalize them billions of dollars, it is inappropriate for the Government to invoke a blanket assertion
of executive privileges to deprive Defendants of information essential to their defenses.
Interrogatory No. 2 and RFP No. 93: Interrogatory No. 2 and RFP No. 93 ask the Government to
provide information and documents about the meaning of the phrase “dispel[] all suspicion” as used
throughout the Complaint. The Government has referred Defendants to a list of purported legal authorities
and its opposition to Defendants’ Motion to Dismiss and objected to producing any documents. The
Government’s responses are evasive and inadequate. The Government has made “dispelling suspicion” a
centerpiece of its case. See, e.g., Compl. ¶¶ 4, 10, 53-56, 208-211, 218, 239, 248, 256, 263, 276, 443-485;
see also MTD Op. (repeatedly referencing the standard that Defendants must “dispel suspicion”). Among
other things, the Government has alleged that (i) “upon discovering an order with one or more indicia of
suspicion, a distributor must “report the order to DEA, unless the distributor investigates the order and
dispels all suspicion relating to the order” (Compl. ¶ 54); a distributor must conduct “an adequate
investigation” (id. ¶ 55); (iii) Defendants’ reviewers “typically” did not take any “real suspicion-dispelling
steps” (id. ¶ 248); and (iv) Defendants committed “at least hundreds of thousands” of violations by not
adequately dispelling suspicion for shipped orders (id. ¶ 443). The Government is well aware that the
regulation says nothing about “dispelling the suspicion,” so the Defendants are entitled to understand what
the Government understood such a requirement to mean regardless of whether or not those
communications happened internally at the DEA or between DEA and third parties.
C.     Selective and Incomplete Production of Documents Regarding the DEA’s Knowledge of
       Defendants’ Suspicious Order Monitoring Systems

RFP Nos. 57-63, 65, 66, 68-72, 92, 95: These requests seek documents regarding the Government’s
knowledge of Defendants’ diversion control programs and suspicious order monitoring systems
(“SOMS”). These documents undeniably are relevant to rebutting the Government’s allegations that
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 10 of 24


Jordann Conaboy, Esq.
Page 4


Defendants had deficient systems. See Compl. ¶¶ 96-270 (175-paragraph section titled “Defendants’ CSA
Compliance Programs Suffered from Serious Systemic Defects that Enabled Significant CSA
Violations”). To defend against these allegations, Defendants are entitled to show that the DEA, at all
relevant times, knew how Defendants’ systems were designed and worked—including from its audits of
Defendants’ distribution centers—but never took any adverse action related to Defendants’ diversion
control programs. Instead, the DEA renewed the registrations for each of Defendants’ distribution centers
on an annual basis, something the DEA by law could do only if it determined that registration was in the
“public interest,” including that Defendants maintained “effective controls against diversion.” 21 U.S.C.
§ 823. Defendants have the right to discovery to develop their defenses that the Government’s allegations
of pervasive defects in Defendants’ systems are directly contradicted by the Government’s own prior
conduct and are entirely inconsistent with its actions, a matter that the Court made clear during oral
argument on the Motion to Dismiss is one to be explored during discovery and in testimony at trial.
The Government’s attempt to selectively produce only certain relevant documents is improper. The
Government cannot unilaterally limit its discovery obligations to searching only external communications,
see Resp. to RFP Nos. 58-60, 71-72, or limit its production to documents it “relied” on for particular
allegations rather than all documents “regarding” those allegations, see RFP Nos. 92, 95. The Government
has initiated this large action against Defendants after a ten-year investigation, and it cannot now create
an incomplete and misleading record by selectively producing documents.
D.     Refusal To Produce Documents Regarding the DEA’s Receipt, Handling, Investigation,
       and Use of Suspicious Order Reports

RFP Nos. 27-29, 31-39, 64: These requests seek documents regarding DEA’s handling of Suspicious
Order Reports. The Government has refused to search for or produce these documents, with two limited
exceptions. See Resp. to RFP No. 28 (agreeing to “search the DEA’s database of suspicious order reports
and produce suspicious order reports received from Defendants”); Resp. to RFP No. 31 (agreeing to
produce documents sufficient to show the annual number of Suspicious Order Reports DEA received for
the period 2014 to 2022 in total and from Cardinal and McKesson).
The Government cannot block discovery into the DEA’s use of—or failure to use—Suspicious Order
Reports. In its own Complaint, the Government has specifically alleged that suspicious order reporting is
intended “to provide DEA investigators in the field with information regarding potential illegal activity in
an expeditious manner,” and that Defendants’ alleged failures to report “enabl[ed] diversion” and “fueled
the opioid crisis.” Compl. ¶¶ 1, 57; see also id. ¶¶ 1, 12. Defendants are now entitled to disprove the
allegations against them, including the causal link the Government attempts to draw, by showing that the
DEA did not act on Suspicious Order Reports. The Court has already recognized that the DEA’s desire
for fewer reports, and lack of use of reports that the DEA did receive, would be particularly notable for
cross-examination of Government witnesses. See Sept. 9, 2023 Hearing Tr. at 204:4-8. Indeed, the Office
of Inspector General has sharply criticized DEA’s practice of handling Suspicious Order Reports and
noting that DEA was unable to locate Suspicious Order Reports during the course of its investigation of
DEA’s actions in addressing the opioid crisis. Moreover, the Government concedes that “the factors
pertinent to assessing a civil penalty” are proper subjects of discovery. See RFP R&O, Comm. Obj. ¶ 2.
One such factor is the public harm that resulted from a defendant’s violations. Defendants have the right
to show that the DEA failed to use Suspicious Order Reports and thus no harm, in fact, resulted from
Defendants’ alleged failure to report suspicious orders that never would have been used by DEA. For
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 11 of 24


Jordann Conaboy, Esq.
Page 5


similar reasons, information about the DEA’s use or non-use of the daily controlled substances sales
reports ABDC submitted to the DEA is relevant. See RFP No. 64.
Information about estimated and actual numbers of Suspicious Order Reports is another proper area for
discovery. In connection with the 2020 SOR Notice, the DEA provided estimates of the number of Orders
Received Under Suspicious Circumstances (“ORUSC”) and Suspicious Order Reports it expected on an
annual basis across the entire industry. In particular, the DEA estimated 339,000 ORUSC and
approximately 67,000 Suspicious Orders for the entire industry. But, here, the Government inconsistently
contends that Defendants alone had millions of ORUSC and should have reported more than 100,000
Suspicious Orders each year. Defendants are entitled to understand how those DEA estimates (and any
others) were compiled and the reasons for the massive discrepancy between those estimates and the
allegations against Defendants. Similarly, the Government has suggested that Defendants underreported
suspicious orders in comparison to two competitors. Compl. ¶ 252. By making such comparisons, the
Government has opened the door to discovery of the relative numbers of suspicions orders reported across
the industry, lest it paint a potentially unfair and inaccurate picture of what has occurred. Finally,
documents going to actual or potential over-reporting of Suspicious Orders, and any resulting impact on
patient care, are plainly relevant to rebutting and contextualizing the number of Alleged Violations and
comparisons to other distributors, as well as assessing the reasonableness of Defendants’ conduct and
interpretation of the reporting obligations.
E.     Refusal to Produce Documents Regarding Investigations of the DEA

RFP Nos. 74-77: These requests seek documents regarding government investigations criticizing the
DEA and calling for additional guidance to help distributors comply with the Suspicious Order Monitoring
and Reporting Obligations. The Government has no basis to withhold these key documents or limit its
search for relevant documents to the DEA if the Government reasonably believes other Government
departments, offices or agencies possess relevant information. Like the internal DEA documents
discussed above, they go to the meaning and application of the reporting obligations at the heart of the
case and are accordingly relevant to the reasonableness of Defendants’ conduct, potential penalty
assessments, and impeachment evidence to challenge testimony by governmental witnesses. Defendants
are entitled to show that the Government is seeking to penalize them billions of dollars for not reporting
more orders during the same period the DEA was failing to heed calls for clarifying guidance. Defendants
are also entitled to show that the DEA did not regularly use Suspicious Order Reports which, again, goes
to the issue of public harm. Finally, for the reasons explained above, the Government’s boilerplate
privilege objections cannot justify withholding documents on a blanket basis.
F.     Cherry-Picking Information and Documents Regarding Alleged Violations and Applicable
       Customers

RFP Nos. 16-26, 30, 42-45, 51-54: These requests seek documents regarding the Alleged Violations
(RFP No. 16) and the Applicable Customers, including analysis received, performed, or reviewed by the
DEA (RFP Nos. 17, 18); communications with state agencies (RFP No. 19); communications with
Defendants regarding Suspicious Order Reports and related communications between DEA headquarters
and DEA field offices (RFP Nos. 20, 30); Suspicious Order Reports from sources other than Defendants
(RFP No. 43); data on the number of Suspicious Order Reports for each Applicable Customer (RFP No.
42); actions against Applicable Customers (or related individuals) in response to Suspicious Order
Reports, or to revoke their registrations (RFP Nos. 26, 52, 53); documents obtained from third parties
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 12 of 24


Jordann Conaboy, Esq.
Page 6


regarding the Alleged Violations (RFP No. 21); investigative files related to potential diversion including
estimates of diversion (RFP Nos. 22, 24); audit reports, registration files, ARCOS data, and registration
status for Applicable Customers (RFP Nos. 23, 25, 51, 54); and DEA notice of, and action in response to,
distributor terminations of Applicable Customers (RFP Nos. 44, 45).
These requests go to the core of the case—the Alleged Violations and the customers who placed the orders
at issue. The Court has already ruled that Defendants must have the “opportunity during discovery to
develop the record regarding each individual alleged violation.” MTD Op. at 39 n. 12. Nevertheless, the
Government objects on undue burden grounds to collecting, reviewing, and producing investigative and
audit files from its “IMPACT” system for all Applicable Customers because the “Applicable Customers
include more than 20,000 DEA registrants and there are more than a million Alleged Violations.” See
RFP R&O, Comm. Obj. ¶ 5. It further objects that the “DEA cannot reasonably preserve, let alone collect,
review, and produce, comprehensive custodial documents pertaining to each of the more than 20,000 . . .
Applicable Customers or the more than a million Alleged Violations.” Id. Instead, it agrees to produce
IMPACT files and custodial documents for just twenty customers. See id.; Interrog. R&O, No. 11.
The Government’s pursuit of expansive liability based on an extremely small, cherry-picked group of
customers is a clear violation of its discovery obligations. Having chosen to file a lawsuit putting more
than a million orders from more than 20,000 customers at issue and to demand a separate penalty for each
Alleged Violation, the Government cannot selectively produce documents for just twenty customers it
believes are helpful to its case while barring all discovery for the remaining 99.9% of customers.
Moreover, the Government’s undue burden and proportionality objections fail on many levels. First, the
scope of discovery that the Government must reasonably provide is necessarily greater where, as here, it
has filed an affirmative claim for relief in the billions of dollars. See, e.g., United States ex rel. Poehling
v. UnitedHealth Grp., Inc., 2018 WL 8459926, at *11 (C.D. Cal. Dec. 14, 2018). Second, the Government
itself imposed enormous burdens on Defendants during its ten-year investigation, serving more than 40
subpoenas totaling more than 450 requests, and it continues to make expansive demands in this litigation.
For example, while the Government refuses to produce IMPACT or custodial files for all but twenty
customers, it has broadly demanded—and continues to demand—that Defendants produce documents for
all customers, not just the Applicable Customers. “Discovery is never a one-way street, the outcome of
which must favor one or the other of the litigants.” Velez v. City of Chicago, 2021 WL 3231726, *3 (N.D.
Ill. July 29, 2021), and especially so when billions of dollars are at stake and the Government is accusing
Defendants of “fueling” the opioid crisis.
The Government further objects that the DEA’s customer files are irrelevant to the extent they contain
information in the possession of the DEA, but unknown to Defendants. That is plainly wrong. Such
information bears on the reasonableness of Defendants’ conduct. For example, if the DEA knew similar
facts about a customer as Defendants but took no action, the DEA’s conduct would bear on the
reasonableness of Defendants’ conduct, whether Defendants knew about it or not. DEA files are also
relevant to the issue of public harm. As discussed above, the Government has alleged that Defendants’
alleged failure to report Suspicious Orders “enable[ed] diversion of controlled substances, which fueled
the country’s opioid epidemic” (Compl. ¶ 11), and it has cherry-picked a handful of customers to advance
that narrative. Defendants are not only entitled to put the Government to its proof and contest these
allegations, but they are also entitled to highlight customers as to whom the DEA failed to act on
Suspicious Order Reports or alternatively cleared of any wrongdoing. In short, the Government cannot
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 13 of 24


Jordann Conaboy, Esq.
Page 7


insist on telling a story for its chosen customers, and deny Defendants the opportunity to counter with full
stories about these or other Applicable Customers.
We are willing to meet and confer regarding the reasonable scope of customer discovery. Indeed, now
that the Court has dismissed claims for penalties for Alleged Violations occurring before October 24,
2018, some of the customers identified in the Complaint are no longer relevant, and we would expect that
the overall number of Applicable Customers has decreased. However, to facilitate those discussions, the
Government must first identify the Alleged Violations so that we know what customers are at issue, how
many Alleged Violations the Government is claiming for each customer, and when the Alleged Violations
occurred.
Finally, given the Government’s statement on preservation in Common Objection No. 5, we are concerned
that it may not have taken adequate steps to preserve relevant evidence. We would like to discuss the
timing of the Government’s preservation efforts and the steps it took during our meet and confer.
Interrogatory Nos. 9 and 10: In paragraph 165 of the Complaint, the Government alleged that “ABDC
regularly shipped orders to customers . . . CSRA knew were likely facilitating diversion of controlled
substances.” These interrogatories ask the Government to identify those customers, provide the factual
basis for the allegation that CSRA “knew” each customer was “likely facilitating diversion,” and provide
information about any investigation or other steps the Government took with respect to those customers.
The Government’s responses focused on ten customers but make clear they are only “example customers.”
Please advise whether the Government is aware of additional customers that it contends are covered by
Paragraph 165, or whether this is a complete list based on the information currently available to the
Government.
Interrogatory No. 11: This interrogatory asks the Government to identify every Applicable Customer it
contends engaged in diversion of controlled substances. The Government provided a list of twenty
customers that it contends “engaged in or facilitated the diversion of controlled substances.” Please advise
whether the Government is aware of additional customers responsive to this interrogatory, or whether this
is a complete list based on the information currently available to the Government. In addition, please be
prepared to discuss why the Government drew a distinction between “engaged” and “facilitated” and the
significance of that distinction.
Interrogatory No. 12: This interrogatory asks the Government to identify, for Pharmacies 1-9 in the
Complaint, the names of current or former DEA officials who were involved in, or have knowledge of,
registration approval and/or renewals and investigations into potential diversion. The Government’s
responses cross-reference its responses to Interrogatory Nos. 3(a) and 3(h). Those responses, however,
do not provide the requested information. This information is plainly relevant and should be provided for
the pharmacies that are still at issue.
Interrogatory No. 13: This interrogatory asks the Government to identify, for Pharmacies 1-9 in the
Complaint, all Suspicious Orders Reports that the DEA received for each customer, the steps the DEA
took to investigate each Suspicious Order Report, and how the DEA resolved each Suspicious Order
Report. The Government has again objected on relevance grounds. As discussed above, information
about the DEA’s receipt and investigation of Suspicious Orders Reports is relevant to the reasonableness
of Defendants’ conduct, as well as the issue of public harm, and the Government has not articulated any
argument as to why discovery sought by Defendants should be so limited, particularly in proportion to the
massive penalties sought in this action. Accordingly, this information must be produced for the
pharmacies that are still at issue.
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 14 of 24


Jordann Conaboy, Esq.
Page 8


G.     Improper Scope Limitations

The Government has improperly restricted the scope of its responses in two respects. First, it has
arbitrarily imposed a hard date cut-off. Second, it has limited its search for responsive documents to an
incomplete universe of certain DEA files and refused to search other governmental entities.
Relevant Time Period. With regard to timing, other than agreeing to produce the minimal documents
contained within the DEA’s Opioid MDL production or a handful of IMPACT files, the Government has
refused to search for or produce any documents before January 1, 2014. This inflexible date cut-off makes
no sense. First, the Government asked for and obtained massive quantities of documents pre-dating
January 1, 2014 in its ten-year investigation. Moreover, at the Government’s request, Defendants
provided access to their productions in the Opioid MDL, which go back even further in time. Second, the
Complaint itself references events pre-dating January 1, 2014, such as the 2007 Orlando settlement.
Defendants are entitled to take discovery related to these allegations. Third, while the Court has now
dismissed the Government’s claims for Alleged Violations occurring between January 1, 2014 and
October 23, 2018, certain events taking place before or during that period are relevant. For example, the
DEA’s interactions with Defendants and the industry prior to January 1, 2014 regarding the Suspicious
Order Monitoring and Reporting Obligations are plainly relevant and must be produced. The
Government’s blanket date cut-off is unreasonable and unfair.
Scope. The Government has also imposed unreasonable search restrictions. As a threshold matter, it has
improperly limited its search for responsive documents to the DEA. See RFP R&O, Gen. Stmt. No. 1.
The United States, not the DEA, is the Plaintiff. Under Fed. R. Civ. P. 34, Defendants’ requests to the
United States extend to responsive documents in the possession, custody, or control of other relevant
governmental agencies, entities, or instrumentalities. See, e.g., North Dakota v. United States, 2021 WL
6278456, at *6 (D.N.D. Mar. 24, 2021); Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118,
126-26 (D.D.C. Feb. 28, 2005). For present purposes, and without waiver of their rights, Defendants
narrow their requests to the DEA, DOJ, GAO, OIG, and OMB, all of which possess information relevant
to the Government’s claims and Defendants’ defenses, and demand that the Government search for and
produce responsive documents from each of these entities.
Moreover, even as to the DEA, the Government attempts to restrict its production to limited categories of
DEA employees. See RFP R&O, Gen. Stmt. No 5. Defendants do not agree to those limitations, which
appear to exclude large numbers of potentially relevant custodians both at DEA Headquarters and DEA
field offices around the country. See, e.g., RFP No. 40, 41. Defendants will meet and confer with the
Government regarding an appropriate list of custodians. To assist in those discussions, Defendants served
discovery requests asking the Government to identify relevant witnesses and to produce organizational
charts. See Interrogatory Nos. 1(d), 3, 12; RFP No. 81. The Government, however, has failed to provide
complete or adequate responses to these requests. Instead, it has referred Defendants to its initial
disclosures (which do not provide the requested information) and IMPACT files that have not been
produced, agreed to produce an organizational chart for only one part of the DEA, and provided the names
of only certain section heads. The Government must fully respond to these requests to allow Defendants
to engage in meaningful and informed discussions regarding appropriate custodians.
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 15 of 24


Jordann Conaboy, Esq.
Page 9


H.     Other Deficiencies

In addition to the categories above, the Government must also remedy the following deficiencies:
Interrogatory Nos. 3(f) and 4 and RFP Nos. 82 and 83: These requests seek information and documents
regarding the Defendants’ Paperwork Reduction Act defense. The Government refused to respond on the
ground the issue was raised in Defendants’ Motion to Dismiss and because it is unduly burdensome. While
the Court’s ruling moots the PRA defense for the pre-SUPPORT Act claims, the PRA defense remains
viable with respect to the post-SUPPORT Act period. For instance, if the Government seeks to impose
liability based solely upon Defendants allegedly failing to maintain documents, when no recordkeeping
obligation was ever approved, Defendants would have a PRA defense. Moreover, the Government’s
undue burden objection cannot justify failure to respond to these requests. There is nothing burdensome
about identifying whether the DEA obtained approval from OMB for any collection of information related
to the Suspicious Order Monitoring and Reporting Obligations. Either it did or did not.
Interrogatory No. 7 and RFP Nos. 89-91: This interrogatory asks the Government to identify all
individuals interviewed by the DEA or DOJ in connection with the AmerisourceBergen Investigation or
this lawsuit. The RFPs seek DEA Form 6 Reports of Investigation, summaries, or transcripts for any
interviews conducted, and all witness statements obtained, in connection with the AmerisourceBergen
Investigation, along with communications with Defendants’ current and former employees. The
Government’s interrogatory answer is incomplete because it is admittedly a “non-exhaustive list,” and the
Government’s RFP responses are deficient because the Government has agreed to search only certain
IMPACT files. The Government must produce this targeted set of documents regardless of where it is
maintained. Finally, all of the responses are inadequate because the Government purports to limit the start
of the AmerisourceBergen Investigation to 2017, even though the investigation began over five years
earlier.
Interrogatory No. 8 and RFP No. 94: This interrogatory asks the Government to provide the factual
basis for the profitability allegations in paragraphs 80-85 of the Complaint, including the methodology
and data it used and all calculations underlying the allegations. RFP No. 94 seeks all documents regarding
those calculations. The Government’s responses do not provide or produce the requested information or
calculations. Because these are calculations that the Government performed, based upon information
within its possession, Defendants have no other way of determining precisely what they are or how they
were derived. Given the prominence of this information in the Complaint, see Compl. ¶¶ 80-86, and the
fact that profitability is a penalty factor, these materials should be provided as soon as possible so that the
Defendants may respond.
RFP No. 15: This request seeks documents regarding the DEA’s estimates of diversion for prescription
opioids pursuant to the SUPPORT Act. The Government’s refusal to search for responsive documents is
improper. These documents are relevant to assess the reasonableness of the Government’s allegations
that Defendants should have reported more than a million additional Suspicious Orders. Indeed,
Defendants may be able to establish the unreasonableness of the Government’s allegations by comparing
the number of Alleged Violations to the Government’s own estimates of diversion.
RFP Nos. 46 and 47: These requests seek documents regarding: (i) the DEA’s decision to discontinue
its practice of notifying other distributors when it received notice that a distributor had terminated a
customer’s ability to purchase controlled substances; and (ii) the DEA’s consideration of whether and to
what extent distributors should be provided with access to ARCOS data showing a customer’s purchases
            Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 16 of 24


Jordann Conaboy, Esq.
Page 10


of controlled substances from other distributors. The Government has refused to search for or produce
any responsive documents. These documents are relevant to limitations that the DEA imposed on
information available to registrants when carrying out their Suspicious Order Monitoring and Reporting
Obligations, and thus the reasonableness of Defendants’ conduct. The Government has not sufficiently
articulated why the burden of collecting and producing such information would not be proportionate to
the needs of this case.
RFP Nos. 49, 50, 55, and 56: These requests seek documents regarding the DEA’s registration and
renewal files for Defendants’ distribution centers, the DEA’s audits of Defendants’ distribution centers,
and the applicable DEA manuals, policies, procedures, and guidelines governing the performance of those
functions. The Government inappropriately limits its responses to documents contained in the “DEA’s
centralized repository for registration and renewal files” and IMPACT files, while categorically excluding
documents, such as emails, located in custodial files.
RFP No. 88: This request seeks documents obtained from third parties in connection with the
AmerisourceBergen Investigation. The Government’s response is deficient because the Government
limits its production to documents produced by third parties pursuant to subpoenas. If the Government
obtained documents from third parties on a voluntary basis or by any means other than a subpoena, they
should be produced.
RFP No. 96: This request seeks all documents regarding the allegations in paragraphs 282 and 283 of the
Complaint about Distributor 2. The Government’s response is inadequate because it is limited to
documents upon which the Government “relied.” Defendants are entitled to all documents regarding the
allegations, not just those supporting the Government’s position.
                                          *       *      *       *
Please confirm that you are available on January 17th for a call to discuss these issues.


Very truly yours,


/s/ Joseph J. Mahady
Joseph J. Mahady
Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 17 of 24




               EXHIBIT B
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 18 of 24




                                                            United States Department of Justice
                                                                    Consumer Protection Branch
                                                               450 Fifth Street, N.W., Suite 6400
                                                                        Washington, D.C. 20001


                                                                     May 17, 2024
By Email
Joseph J. Mahady, Esq.
Reed Smith LLP
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1717 Arch Street, Suite 3100
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Jmahady@ReedSmith.com

        Re:      United States v. AmerisourceBergen, et al., Civ. No. 22-5209 (E.D. Pa.)

Dear Counsel:

        We write to address our positions regarding (1) Defendants’ requests for documents
reflecting purely internal discussions among DEA employees regarding potential new statutes and
regulations and the meanings of existing laws (RFP Nos. 1–14 and 67), and (2) the relevant time
period for some of Defendants’ requests.

        First, as set forth in detail below, we agree to produce responsive non-privileged documents
reflecting internal discussions about the suspicious order reporting laws if: (a) they relate to
communications with external parties; (b) they relate to the facts of this case; or (c) they involve
DEA employees that Defendants contend provided Defendants with advice about the suspicious
order reporting laws inconsistent with the Government’s legal theory. However, we do not agree
to otherwise produce internal documents reflecting discussions among DEA employees regarding
the meaning of the suspicious order reporting laws or potential amendments thereto, since we
believe such documents would be irrelevant, as well as largely being privileged.

      Second, and within the bounds set forth below, we agree to search for and produce certain
documents responsive to Defendants’ requests predating 2014.

   I.         Internal Communications Regarding Drafting and Interpretating Law

        During our meet and confer of May 1, 2024, Defendants asserted that all communications
from 2007 forward that involve DEA employees’ discussions of the meanings of the suspicious
order reporting laws or potential amendments thereto are relevant to this litigation and subject to
discovery. You specifically read from an email involving a DEA attorney and high-ranking DEA
policy-makers discussing the attorney’s analysis of a draft regulation, and you suggested that the
email and all other communications like it are plainly relevant. We expressed our disagreement,
and below, we further explain our position on precisely which DEA communications regarding
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 19 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 2 of 7

drafting and interpreting laws are subject to discovery in this litigation, and briefly summarize the
supporting arguments and authorities.

      As an initial matter, the Government agrees to produce the following categories of internal
DEA communications:

       1. Internal DEA communications relating to external communications. The
          Government agrees to produce non-privileged documents relating to external
          communications between DEA personnel and outside parties regarding the suspicious
          order reporting laws that are responsive to Defendants’ Request Nos. 1–14, 40, 67, and
          74.1 In addition to emails between DEA personnel and outside parties about the
          suspicious order reporting laws, such documents would also include purely internal
          DEA documents that reflect external communications, such as summaries of external
          communications prepared by DEA personnel.

       2. Internal DEA communications concerning Defendants and the facts in this case.
          The Government also agrees to produce non-privileged internal communications
          among DEA employees relating to the conduct at issue in this case that are responsive
          to Defendants’ Request Nos. 1–3, 8, 10, 13, 16–24, 26, 28, 30, 37–39, 44–45, 49, 52–
          55, 57–62, 69–71, 88–92, and 98. This includes non-privileged communications
          relating to the legality of Defendants’ suspicious order monitoring and reporting
          practices, or the application of the suspicious order reporting laws to Defendants’ and
          their customers’ conduct associated with the violations at issue.

       3. Internal DEA communications by DEA personnel who advised Defendants
          regarding the meaning of the suspicious order reporting laws. Additionally, if there
          are any non-attorney DEA personnel whom Defendants contend provided them with
          direct and specific advice (as opposed to advice shared with industry members more
          broadly or publicly) regarding the interpretation of the suspicious order reporting laws
          that Defendants contend is inconsistent with the Government’s legal theory in the
          Complaint, the Government is willing to meet and confer to discuss adding those
          individuals to its list of Government custodians, the time period for which documents
          are available for the specific custodians, and the time period for potentially responsive


1
  All commitments to search for and produce documents included in this letter are limited to non-
privileged documents identified pursuant to agreed-upon search parameters. Such commitments
incorporate and do not waive the Government’s objections to Defendants’ Requests on grounds
besides those addressed in this letter, nor do they alter the Government’s previously conveyed
positions regarding custodians, customer discovery, or any other matters unrelated to those
addressed in this letter. References to “privileged documents” mean documents protected from
disclosure by any applicable privilege, protection, or exemption, as described in General Statement
No. 6 in the Government’s Objections and Responses to Defendants’ First Set of Requests for
Production of Documents.
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 20 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 3 of 7

            documents.2 If the Parties agree on the addition of such custodians and parameters for
            searching their records, the Government will, within the terms of the agreement, search
            for and produce those custodians’ non-privileged internal communications regarding
            the interpretation of 21 C.F.R. § 1301.74 and 21 U.S.C. § 832(a).

        However, we do not otherwise agree to search for or produce internal DEA documents
relating to individual DEA employees’ non-public commentary on the meaning of 21 C.F.R. §
1301.74 and 21 U.S.C. § 832(a), or their thoughts on potential new statutes or regulations. In
addition to largely being privileged and exempt from discovery, we believe such internal legal
discussions would be irrelevant to any matter legitimately at issue in the case.

    1. Private, Purely Internal Communications Regarding Potential New Statutes and
       Regulations and the Meanings of Existing Laws Are Not Relevant

        Federal Rule of Civil Procedure 26(b) provides that a party “may obtain discovery
regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional
to the needs of the case.” In this matter, we believe the relevant questions at issue following the
Court’s motion to dismiss decision are: (1) whether and on how many occasions Defendants failed
to report suspicious orders of controlled substances in violation of 21 U.S.C. § 832(a)(3); (2)
whether such violations of 21 U.S.C. § 832(a)(3) were committed with a mens rea violating 21
U.S.C. § 842(a)(5); and (3) the appropriate penalties.3 The disputed internal documents have no
bearing on any of these questions.

       Agency employees’ private thoughts about potential amendments to governing law and
matters of legal analysis are irrelevant to the interpretation of § 832(a)(3). That is a legal issue for
the Court alone to determine. See, e.g., United States v. Lachman, 387 F.3d 42, 54 (1st Cir. 2004).
Moreover, the internal legal discussions in dispute are not relevant to ascertaining Defendants’

2
  Defendants will need to identify any such DEA employees. As such, we are serving an
interrogatory contemporaneous with this letter seeking that information and associated information
about the DEA employees’ alleged communications with Defendants.
3
  Though we note that Defendants’ Answer asserts equitable defenses that implicate other issues,
we do not believe Defendants have argued that any of those defenses support their requests for the
disputed DEA documents reflecting internal legal discussions, and thus we do not address them
here. Additionally, it is our view that those equitable defenses cannot independently support
discovery because the defenses are not legally valid. See, e.g., United States v. California, 332
U.S. 19, 40 (1947) (government agents “cannot by their conduct cause the Government to lose its
valuable rights by their acquiescence, laches, or failure to act”); OPM v. Richmond, 496 U.S. 414
(1990) (estoppel is unavailable against the government in all or almost all circumstances). Though
we acknowledge that no motion to strike these defenses has been filed, we understand that the
Court intended for the Government to raise its arguments regarding these defenses if and when the
issue became ripe in the context of a discovery dispute, and we believe it would become ripe if
Defendants were to insist upon discovery relevant solely to the equitable defenses. See ECF No.
75 at 24:25–25:05; 30:09–30:24.
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 21 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 4 of 7

mens rea regarding the alleged violations of 21 U.S.C. § 832(a)(3). Defendants asserted in their
January 11, 2024 letter that all non-public, internal discussions among any DEA employees
regarding the meanings of the suspicious order reporting laws and potential amendments thereto
are relevant to judging Defendants’ mens rea (and by extension, culpability) because such
communications relate to “the reasonableness of Defendants’ conduct.” But that is wrong. Purely
private discussions of relevant law among government employees who never communicated those
opinions to Defendants could not have informed Defendants’ thinking when they violated 21
U.S.C. § 832(a)(3). Moreover, the personal views of non-attorney government employees about
how existing laws could be improved or might generally be interpreted are not relevant to
determining whether Defendants acted negligently when they failed to report the specific
suspicious orders that they discovered. Multiple courts faced with broad discovery requests for
internal agency documents relating to matters of legal interpretation have denied motions to
compel production and rejected the precise arguments pressed by Defendants here, finding that
such documents were irrelevant to determining a defendant’s mens rea.

         For example, in United States v. Farley, the Seventh Circuit rejected a defendant’s demand
for internal agency communications about the FTC regulations the defendant allegedly violated,
holding that non-public “discourse among FTC staff about the meaning of the [at issue] regulations
is irrelevant” and could not inform the determination whether the defendant “should, after reading
the regulations, have understood” that his actions violated the law. 11 F.3d 1385, 1391 (7th Cir.
1993). A number of district courts, including in this Circuit, have followed Farley’s reasoning in
rejecting similar demands premised on arguments like Defendants’. See, e.g., Consumer Fin. Prot.
Bureau v. Navient Corp., Civ. No. 17-CV-101, 2018 WL 2088760, at *4 (M.D. Pa. May 4, 2018)
(rejecting argument that internal agency discussions regarding the interpretation of a regulation
“bea[r] on the reasonableness of [the defendants’] actions” and holding that “[w]hat agency staff
said in communication leading up to the issuance or non-issuance of rules, policies, or guidance
has no bearing”); United States v. Wisconsin Bell, Inc., Civ. No. 08-C-0724, 2020 WL 13048895,
at *2 (E.D. Wis. Oct. 29, 2020) (“Whether Wisconsin Bell’s interpretation of the LCP rule was
reasonable depends on the statutes, regulations, and the official, public statements regarding the
rule. Internal and interagency communications cannot be relevant to whether Wisconsin Bell’s
attempts to comply with the rule were reasonable or in good faith because Wisconsin Bell did not
have access to them[.]”); S.E.C. v. BankAtlantic Bancorp, Inc., 285 F.R.D. 661, 668 (S.D. Fla.
2012) (denying discovery request for agency’s internal policies and explaining that “SEC’s
internal policies and investigation decisions, in and of themselves, are not relevant to the issue of
scienter. . . . Only what [defendants] knew or understood is relevant to that determination”); United
States v. Navistar Int’l Corp., 236 F. Supp. 3d 1049, 1057 (N.D. Ill. 2017) (internal agency
communications were not relevant to determining whether defendant had “fair notice” of what the
relevant law prohibited). The logic of these cases applies even more forcefully in this case, since
(following the motion to dismiss decision) the Government is exclusively seeking penalties for
Defendants’ violations of an obligation imposed by statute—not by regulation.

        In sum, the internal communications Defendants seek simply are not relevant to any matter
at issue in this case.
         Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 22 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 5 of 7

         2. Defendants’ Demands Improperly Target Privileged Materials

        Furthermore, many of Defendants’ expansive requests for documents reflecting internal
legal discussions are also improper because they almost exclusively seek privileged materials. For
example, Defendants’ demand for all records of internal discussions “regarding any contemplated
amendments, modifications, revisions, updates, or changes to 21 C.F.R. § 1301.74” (RFP No. 11)
and their demand for all documents regarding “the drafting, formulation, internal approvals, and
issuance of the 2020 SOR Notice” (RFP No. 12) exclusively target documents in the heartland of
the deliberative process privilege, which protects from disclosure agency “documents containing
‘confidential deliberations of law or policymaking, reflecting opinions, recommendations or
advice.’” Bayliss v. New Jersey State Police, 622 Fed. App’x 182, 185 (3d Cir. 2015) (quoting
Redland Soccer Club, Inc. v. Dep’t of Army of U.S., 55 F.3d 827, 853 (3d Cir. 1995)). These and
other requests also appear to target communications protected by the attorney-client privilege,
since agency attorneys are largely responsible for interpreting existing regulations and drafting
new ones.

        Although these privilege assertions cannot be made on a categorical basis and must be
appropriately supported and logged, a party may still validly object to discovery requests aimed
almost exclusively at privileged documents. See City of Chicago v. DoorDash, Inc., 2023 WL
3654259, at *3 (N.D. Ill. May 25, 2023) (denying motion to compel in part due to “the privileged
nature of most [responsive] communications”). This principle provides a separate and independent
reason that many of Defendants’ broad demands for documents relating to all DEA employees’
unofficial, private views on potential new statutes and regulations and the meanings of existing
laws are improper under the Federal Rules.

   II.      Time Periods Relevant to Defendants’ Requests

        As a general matter, the Government continues to believe that factual discovery in this
matter should be limited to the agreed default period of January 1, 2014 through the date of the
Complaint. That default period stretches back nearly five years before the first violation currently
at issue in this case, and materials predating that period are generally unlikely to be sufficiently
probative of Defendants’ negligence or culpability to justify the burden associated with identifying
and producing them.

        However, we are willing to amend our responses to Defendants’ Requests for Production
to search for and produce certain non-privileged documents that pre-date 2014. Specifically, we
agree to produce the following pre-2014 materials:

         1. DEA IMPACT Files Related to Audits or Investigations of Defendants: The
            Government will collect and produce non-privileged IMPACT files associated
            with Defendants (based on name or DEA registration number) from roughly
            2011 through the date of the Complaint. The IMPACT system was implemented
            in approximately 2011, though some hardcopy and electronic audit and
            investigative files that pre-date 2011 may have been loaded to the IMPACT
            system at the discretion of the inspecting or investigating DEA field office. The
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 23 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 6 of 7

           Government will consider relevant and responsive any IMPACT files that relate
           to Defendants’ suspicious order monitoring and reporting pursuant to
           Defendants’ Request Nos. 8 and 60–62.
       2. Defendants’ DEA Registration and Renewal Files: The Government will
          collect and produce non-privileged DEA registration and renewal files
          associated with Defendants (based on DEA registration number) and responsive
          to Defendants’ Request No. 49, that are centrally stored by DEA’s Registration
          and Business Operations Section, for 2007 through the date of the Complaint.
       3. Orlando Settlement Agreement Related Files: In addition to the IMPACT
          files referenced above, which may include documents related to the Orlando
          Settlement Agreement, the Government agrees to endeavor to search the
          relevant field office for other non-custodial documents that may pre-date the
          IMPACT system that are responsive to Defendants’ Request Nos. 60, 61, and
          62 from 2007 through the date of the Complaint. Additionally, the Government
          will endeavor to identify up to two custodians who may have materials
          responsive to Defendants’ Request Nos. 60, 61, and 62, and, if identified, to
          search those individuals’ materials using agreed-upon search terms and produce
          responsive, non-privileged materials from 2007 through the date of the
          Complaint.
In addition to the above non-custodial and custodial sources, the Government will also search for
the following pre-2014 custodial documents responsive to Defendants’ requests:
       1. Existing DEA Headquarters Custodians: For the fifteen existing DEA
          Headquarters custodians that the Government previously identified in its April
          24, 2024 communication, the Government will extend the period for which it
          searches for and produces documents back to 2010.4
       2. Additional Custodians: To the extent that the Government or the Defendants
          identify a reasonable number of additional custodians that are relevant to the
          2007 to 2014 period, the Government is willing to meet and confer to discuss
          the addition of those custodians, the time period for which documents are
          available for each specific custodian, and the time period for potentially
          responsive documents. Any search of these custodians’ materials will be subject
          to the agreed-upon search terms.



4
  Not all existing DEA Headquarters custodians will have documents that cover the entire 2010
through Complaint period. For instance, some individuals’ DEA employment did not cover the
entire time period. However, to the extent documents are available and reasonably accessible from
2010 through the Complaint for a given custodian, the Government will search for and produce
responsive, non-privileged materials consistent with the Government’s existing positions
regarding relevance as communicated to Defendants.
        Case 2:22-cv-05209-GJP Document 80 Filed 07/31/24 Page 24 of 24

Joseph J. Mahady, Esq.
May 17, 2024
Page 7 of 7

        To the extent there remain requests for which you still demand additional pre-2014
discovery, we are open to further discussion regarding those requests and would consider
amending our responses if Defendants provide a convincing explanation why they are entitled to
the discovery sought, as would be required of Defendants if the issue were to be brought to the
Court. See Bretter v. Peyton, Civ, Civ. No. 22-2509, 2023 WL 3851975, at *1 (E.D. Pa. June 6,
2023) (“When a party moves to compel discovery pursuant to Fed. R. Civ. P. 37, the moving party
bears the initial burden of proving the relevance of the material requested[.]”).


                                    *      *      *      *

       Please advise whether the Government’s revised positions are acceptable to Defendants
and whether Defendants believe the parties have reached an impasse on any of the matters
discussed above.



                                                   Sincerely,

                                                   /s/ Michael J. Wadden__________
                                                   Michael J. Wadden
                                                   Trial Attorney
                                                   U.S. Department of Justice
                                                   Consumer Protection Branch

cc: Counsel of Record (by e-mail)
